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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MONTANA
                                    BUTTE DIVISION




 TIMOTHY JONES,

                  Plaintiff,                               Case No. CV 08-80-BU-RWA

    v.

 THE UNITED STATES OF AMERICA,

                  Defendant.



                                     ORDER & NOTICE

         At Butte in said District this 1Oth day of December, 2009.

         The Defendant has filed an Unopposed Motion to Extend Discovery Deadline on

December 9,2009, stating that Plaintiffs counsel has no objection. Upon review, the Court

finds that the Motion is filed for good cause and should be granted.

         IT IS ORDERED the Defendant's Unopposed Motion to Extend Discovery Deadline

filed on December 9,2009, (Docket No. 14) is GRANTED.

         IT IS FURTHER ORDERED:

         1 . All discovery shall be completed in accordance with the Federal Rules of Civil

Procedure on or before February 9,2010. The duty to supplement discovery beyond that date

shall be governed by Rule 26(e), Fed. R. Civ. P.
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       2. All written discovery shall be served so as to allow the responding party sufficient

time to reply within the time periods set by the Federal Rules and paragraph 1 above.

       3. All motions except those in the nature of a motion in limine, shall be filed on or before

March 9, 20101,with briefs to be filed pursuant to L.R. 7.1.

       All remaining deadlines established by the Court's March 9, 2009, Scheduling Order

shall remain in fill force and effect.

       Dated this 1Oth day of December, 2009.



                                                    By Is/ Richard W. Anderson
                                                    RICHARD W. ANDERSON
                                                    UNITED STATES MAGISTRATE JUDGE




      'Defendant's Motion at page 2 requests the extension of time for pretrial motions to
March 9,2009, which the Court deems clearly a typo.
